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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                        ***

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5
      UNITED STATES OF AMERICA,
6
                            Plaintiff,
7                                                           2:16-cr-00294-JCM-VCF
      vs.                                                   ORDER
8
      KAILI TUALAU,
9
                             Defendant.
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              Before the Court are the Motion to Dismiss Counsel and Appoint New Counsel (ECF No. 39) and
13
     Motion to Withdraw and for Appointment of New Counsel (ECF No. 40).
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              IT IS HEREBY ORDERED that a hearing on the Motion to Dismiss Counsel and Appoint New
15
     Counsel (ECF No. 39) and Motion to Withdraw and for Appointment of New Counsel (ECF No. 40) is
16
     scheduled for 1:30 PM, June 6, 2017, in Courtroom 3D.
17
              The U.S. Marshal is directed to transport defendant to and from the hearing.
18
              DATED this 31st day of May, 2017.
19

20                                                                _________________________
                                                                  CAM FERENBACH
21
                                                                  UNITED STATES MAGISTRATE JUDGE
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